         Case 19-40284               Doc 6        Filed 01/22/19 Entered 01/22/19 08:47:29                            Ch 7 First Mtg
                                                        I/J No POC Pg 1 of 3                                           Case Number 19−40284
Information to identify the case:
Debtor 1              Philip Robert Gawlak                                                  Social Security number or ITIN        xxx−xx−6202
                      First Name   Middle Name   Last Name                                  EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                    Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                            EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Missouri
                                                                                            Date case filed for chapter 7 1/18/19
Case number:          19−40284

Official Form 309A (For Individuals or Joint Debtors)
Order and Notice of Chapter 7 Bankruptcy Case                                                                                              12/17
For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities (see Bankruptcy Code §362 for prohibited
collection actions). This means that creditors generally may not take action to collect debts from the debtors, from the debtors'
property, or from certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by
mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's
fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the Court to
extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the Bankruptcy Clerk's Office
within the deadlines specified in this notice. (See section number 9 for more information.)

To protect your rights, consult an attorney.

The staff of the Bankruptcy Clerk's Office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the Court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the Court.
                                           About Debtor 1:                                        About Debtor 2:
1. Debtor's full name                      Philip Robert Gawlak

2. All other names used in the             aka Phil Gawlak
   last 8 years
3. Address                                 3947 Randall Street
                                           St. Louis, MO 63116
4. Debtor's attorney                       Randall T. Oettle                                      Contact phone: (314) 843−0220
                                           R.O.C. Law, Randall Oettle Company, P.C.
   Name and address                        12964 Tesson Ferry                                     Email: roettle@roclaw.com
                                           Suite B
                                           St. Louis, MO 63128
5. Bankruptcy trustee                      E. Rebecca Case                                        Contact phone: (314) 721−7011
                                           7733 Forsyth Blvd.
   Name and address                        Suite 500                                              Email: chapter7trustee@stoneleyton.com
                                           Saint Louis, MO 63105
                                                                                                                For more information, see page 2 >

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Debtor Philip Robert Gawlak                             I/J No POC Pg 2 of 3                                                  Case number 19−40284
6. Bankruptcy Clerk's Office              111 South Tenth Street
                                          Fourth Floor
     Documents in this case may be filed St. Louis, MO 63102
     at this address. You may inspect all
     records filed in this case at this   Telephone number: (314) 244−4500
     office or online at www.pacer.gov.   McVCIS: 1−866−222−8029, #87
                                          Electronic Case Information/PACER: https://ecf.moeb.uscourts.gov

                                            Office Hours: Monday − Friday 8:30 a.m. − 4:30 p.m.


7.   Meeting of creditors                   February 15, 2019 at 09:00 AM                            Location:
     Debtors must attend the meeting to
     be questioned under oath. In a joint   The meeting may be continued or adjourned                111 South Tenth Street, First Floor, Room
     case, both spouses must attend.        to a later date. If so, the date will be on the          1.310, St. Louis, MO 63102
     Creditors may attend, but are not      Court docket.
     required to do so.


8.   Presumption of abuse                   The presumption of abuse does not arise.
     If the presumption of abuse arises,
     you may have the right to file a
     motion to dismiss the case under 11
     U.S.C. § 707(b). Debtors may rebut
     the presumption by showing special
     circumstances.


9.   Deadlines                              File by the deadline to object to                        Filing deadline:
     The Bankruptcy Clerk's Office must     discharge or to challenge whether certain                The deadline to file such complaints for any creditor
     receive these documents and any        debts are dischargeable:                                 added to this case after the date of the initial Notice
     required filing fee by the following                                                            and Order of Commencement shall be the later of the
                                            You must file a complaint:                               original deadline or 60 days after the date on the
     deadlines.                             • if you assert that the debtor is not entitled to       certificate of service of the notice given pursuant to
                                            receive a discharge of any debts under any of the        L.R. 1009.
                                            subdivisions of 11 U.S.C. §727(a)(2) through (7),
                                            or

                                            • if you want to have a debt excepted from
                                            discharge under 11 U.S.C §523(a)(2), (4), or (6).

                                            You must file a motion:
                                            • if you assert that the discharge should be denied
                                            under §727(a)(8) or (9).


                                            Deadline to object to exemptions:                        Filing deadline: 30 days after the conclusion of
                                            The law permits debtors to keep certain property as      the meeting of creditors unless otherwise provided
                                            exempt. If you believe that the law does not authorize   under Bankruptcy Rule 1019(2)(B) for converted
                                                                                                     cases.
                                            an exemption claimed, you may file an objection.


10. Proof of claim                          Deadline for holder(s) of a claim secured by a security interest in the principal residence
                                            (Rule 3002(c)(7)(A)):                          Filing Deadline: 3/29/19

                                            No property appears to be available to pay creditors. Therefore, other than claims secured
                                            by a security interest in the principal residence, please do not file a proof of claim now. If it
                                            later appears that assets are available to pay creditors, the Clerk will send you another
                                            notice telling you that you may file a proof of claim and stating the deadline.


11. Foreign Creditors                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                            asking the Court to extend the deadlines in this notice. Consult an attorney familiar with
                                            United States Bankruptcy Law if you have any questions about your rights in this case.


12. Exempt property                         The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                            be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                            You may inspect that list at the Bankruptcy Clerk's Office or online at www.pacer.gov. If you
                                            believe that the law does not authorize an exemption that the debtors claim, you may file an
                                            objection by the deadline to object to exemptions.
                                                                                                                      For more information, see page 3 >

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Debtor Philip Robert Gawlak                           I/J No POC Pg 3 of 3                                     Case number 19−40284
13. Abandonment of Property                At the meeting of creditors, the Trustee may announce the abandonment of specific
                                           property of the estate that is burdensome or of inconsequential value. Any objection to
                                           this abandonment must be filed in writing with the Clerk's Office and the Trustee within 14
                                           days after the conclusion of the meeting of creditors.


14. Domestic Support Obligation The holder of any claim for unpaid pre−petition child support is entitled to have the trustee
    − Child Support             provide such creditor with notice of the creditor's right to use the services of the state
                                child support enforcement agency and supply such creditor with the address and
                                telephone number of the state child support enforcement agency and an explanation of
                                the creditor's rights to payment in the Bankruptcy case. Any creditor may request such
                                notice and information by writing the trustee. Such creditor is further entitled to have the
                                trustee provide the creditor with (i) notice of the granting of the discharge, (ii) any last
                                known address of the debtor,(iii) debtor's most recent employer, and (iv) information
                                concerning other claims on which the debtor may be liable following a discharge. Failure
                                to request such information from the trustee shall be a waiver of the right to receive such
                                notice from the trustee.
                                                                                            So Ordered:



                                                                                            United States Bankruptcy Court Judge
                                                                                            Date: 1/22/19

Any paper that you file in this bankruptcy case should be filed at the Bankruptcy Clerk's Office at the address listed in section
number 6 of this Order and Notice. Registered electronic users should file through our Case Management/Electronic Case Files
(CM/ECF) system at https://ecf.moeb.uscourts.gov. This Court requires all attorneys to file electronically through CM/ECF.
You may inspect all papers filed, including the list of the debtor's property and debts and the list of the property claimed as
exempt, at the Bankruptcy Clerk's Office or via the Internet if you have a PACER subscription. You may register for PACER at
www.pacer.gov. Case status information is available 24 hours a day by contacting McVCIS (Multi−Court Voice Case
Information System) or via the Internet using PACER. Information about the meeting of creditors, certain forms, and other
matters can be obtained from the Court's website: http://www.moeb.uscourts.gov.

Debtor information needed at the meeting of creditors:
• Most recently filed federal and state tax returns (must be provided to trustee at least 7 days before 341 meeting)
• W−2(or W−4) forms
• Deeds to any real estate in which the debtor has any interest
• Savings, checking and investment account statements
• Personal property tax statements
• Life insurance policies on debtor's life or lives of debtor's spouse or children
• Divorce decree or separation agreement
• Documentation supporting the appropriate Statement of Current Monthly Income/Means Test/Form(s)
• Pay stubs or other earnings statements covering the 6−month period prior to the petition date

Debtor Identification:
All individual debtors must provide picture identification and proof of social security number (if any) to the trustee at the meeting
of creditors. Failure to do so may result in your case being dismissed or denial of your discharge, and/or criminal referral.
Acceptable forms of picture identification (ID) include an original: 1)driver's license, 2)federal or state government ID, 3)student
id, 4)U.S. passport, 5)military ID, or 6)resident alien card. Acceptable forms of proof of social security number include an
original: 1)social security card, 2)medical insurance card, 3)pay stub, 4)W−2 form, 5)Internal Revenue Service Form 1099,
6)Social Security Administration report, or 7)statement that such documentation does not exist.


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